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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
                                               :       Criminal Case: 18-218 (TSC)
           v.                                  :
                                               :
                                               :
MARIIA BUTINA, also known as                   :
MARIA BUTINA,                                  :
                                               :
                       Defendant.              :

                          Joint Motion to Continue Status Conference

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests that the Court continue the status conference in this

matter (including the motions-briefing schedule), presently set for November 13, 2018, for

approximately three weeks. In support of this motion, the parties state that the United States has

provided voluminous discovery to the defense so far. The parties are in agreement that to make

the best and most efficient use of the Court’s time and resources to decide any motions, it would

be prudent to continue the upcoming hearing and its accompanying motions schedule for

approximately three weeks.

       The parties thus jointly request that the Court vacate the current motions schedule and

motions hearing date; reset this case for a status conference to take place on December 4, 5, 6, or

7, 2018, if any of those dates are convenient for the Court. The parties also jointly request that the

present motions schedule be set back by three weeks. The Court should thus direct the defense to

file any dispositive motions on or before November 16, 2018. Any government responses would

be due on or before November 30, 2018, and any defense reply would be due on or before

December 3, 2018.

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       The parties also jointly request that the Court continue to exclude time under the Speedy

Trial Act between now and the next date set. The defendant, through counsel, does not object to

this request. For the reasons stated in previous hearings, the parties request that the Court find that

this period of delay serves the ends of justice, and that those ends outweigh the best interest of the

public and the defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A) & (B)(ii).

       Undersigned counsel has provided a copy of this motion to Robert Driscoll and Alfred

Carry, Esqs., counsel for the defendant, and they have agreed that undersigned counsel may file

this motion as a joint request.

                                                       Respectfully submitted,

                                                       JESSIE K. LIU
                                                       UNITED STATES ATTORNEY
                                                       D.C. Bar Number 472845

                                                       By:          /s/_______________
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                                                                 /s/_______________
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                                             :       Criminal Case: 18-218 (TSC)
          v.                                 :
                                             :
                                             :
MARIIA BUTINA, also known as                 :
MARIA BUTINA,                                :
                                             :
                      Defendant.             :

                                            ORDER

       Upon consideration of the parties’ Joint Motion to Continue Status Conference [ECF No.

___], it is this ____ day of October, 2018, hereby

       ORDERED that the Status Conference and Motions Schedule, which were set at a status

conference on September 10, 2018, are hereby VACATED. It is

       FURTHER ORDERED that the parties shall appear for a status conference before this

Court on ________________________ at ________. It is

       FURTHER ORDERED that any dispositive motions are due by November 16, 2018.

Any responses are due by November 30, 2018, and any replies are due by December 3, 2018. It

is
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       FURTHER ORDERED that time between the date of this Order and

____________________ shall be excluded from calculation under the Speedy Trial Act, 18

U.S.C. § 3161. For the reasons stated at the hearing on September 10, 2018, including the

complex nature of this case, the Court finds that the ends of justice served by this continuance

outweigh the best interests of the public and the defendant in a speedy trial. See 18 U.S.C. §

3161(h)(7)(A) & (B)(ii).

       SO ORDERED.




                                                     _________________________________
                                                     The Honorable Tanya S. Chutkan
                                                     United States District Judge
